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                                                                                APPEAL,CONMAG
                               U.S. District Court
                     Northern District of Alabama (Western)
               CIVIL DOCKET FOR CASE #: 7:20−cv−00860−GMB
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Dukes Clothing LLC v. Cincinnati Insurance Company, The    Date Filed: 06/17/2020
Assigned to: Magistrate Judge Gray M Borden                Date Terminated: 05/05/2021
Cause: 28:1332 Diversity−Insurance Contract                Jury Demand: Plaintiff
                                                           Nature of Suit: 110 Insurance
                                                           Jurisdiction: Diversity
Plaintiff
Dukes Clothing LLC                           represented by P Ted Colquett
                                                            COLQUETT LAW, LLC
                                                            PO Box 59834
                                                            Birmingham, AL 35259−0834
                                                            205−245−4370
                                                            Email: ted@colquettlaw.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           R Matt Glover
                                                           Prince, Glover & Hayes P.C.
                                                           701 Rice Mine Road North
                                                           Tuscaloosa, AL 35406
                                                           205−345−1234
                                                           Fax: 205−752−6313
                                                           Email: mglover@princelaw.net
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           William H Robertson , V
                                                           GAITHER & ROBERTSON
                                                           102 North Orange Avenue
                                                           Post Office Box 213
                                                           Eufaula, AL 36072−0213
                                                           334−687−6440
                                                           Fax: 334−687−6445
                                                           Email: whrobertson5@gmail.com
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
Cincinnati Insurance Company, The            represented by Augusta S Dowd
                                                            WHITE ARNOLD & DOWD PC
                                                            2025 3rd Avenue North
                                                            Suite 500


                                                                                                         1
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                                                           Birmingham, AL 35203
                                                           205−323−1888
                                                           Fax: 205−323−8907
                                                           Email: adowd@whitearnolddowd.com
                                                           ATTORNEY TO BE NOTICED

                                                           Craig A. Shirley
                                                           WHITE ARNOLD & DOWD
                                                           2025 Third Avenue North, Ste. 500
                                                           Birmingham, AL 35203
                                                           205−323−1888
                                                           Email: cshirley@whitearnolddowd.com
                                                           ATTORNEY TO BE NOTICED

                                                           William Chambers Waller , IV
                                                           WHITE ARNOLD & DOWD P.C.
                                                           2025 3rd Ave. N Ste 500
                                                           Birmingham, AL 35203
                                                           205−323−1888
                                                           Fax: 205−323−8907
                                                           Email: cwaller@whitearnolddowd.com
                                                           ATTORNEY TO BE NOTICED


Date Filed   #   Page Docket Text
06/17/2020   1        COMPLAINT against Cincinnati Insurance Company, The, filed by Dukes
                      Clothing LLC.(KAM) (Entered: 06/17/2020)
06/17/2020   2        NOTICE OF ASSIGNMENT OF CASE TO A UNITED STATES
                      MAGISTRATE JUDGE FOR TRIAL (KAM) (Entered: 06/17/2020)
06/17/2020   3        Request for service by certified mail filed by Dukes Clothing LLC. (Glover, R)
                      (Entered: 06/17/2020)
06/17/2020            Filing Fee: Filing fee $ 400, receipt_number 1126−3612444. related document
                      1 COMPLAINT against Cincinnati Insurance Company, The, filed by Dukes
                      Clothing LLC.(KAM). (Glover, R) NDAL rec# B4601106629 Modified on
                      6/18/2020 (KAM, ). (Entered: 06/17/2020)
06/24/2020   4        Summons Issued as to Cincinnati Insurance Company, The. mailed certified
                      mail (KAM) (Entered: 06/24/2020)
07/01/2020   5        NOTICE of Appearance by Augusta S Dowd on behalf of Cincinnati Insurance
                      Company, The (Dowd, Augusta) (Entered: 07/01/2020)
07/01/2020   6        NOTICE of Appearance by Craig A. Shirley on behalf of Cincinnati Insurance
                      Company, The (Shirley, Craig) (Entered: 07/01/2020)
07/08/2020   7        Corporate Disclosure Statement by Cincinnati Insurance Company, The. filed
                      by Cincinnati Insurance Company, The (Dowd, Augusta) (Entered: 07/08/2020)
07/10/2020   8        CONSENT to Jurisdiction by US Magistrate Judge Gray M. Borden filed by
                      Dukes Clothing LLC, Cincinnati Insurance Company, The (KAM) (Entered:
                      07/10/2020)


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07/24/2020    9     ORDER REGARDING COMPLIANCE WITH RULE 26. Signed by
                    Magistrate Judge Gray M Borden on 7/24/2020. (KAM) (Entered: 07/24/2020)
07/24/2020   10     INITIAL ORDER. Signed by Magistrate Judge Gray M Borden on 7/24/2020.
                    (KAM) (Entered: 07/24/2020)
07/27/2020   11     NOTICE of Appearance by William Chambers Waller, IV on behalf of
                    Cincinnati Insurance Company, The (Waller, William) (Entered: 07/27/2020)
07/27/2020   12     WAIVER OF SERVICE Returned Executed by Cincinnati Insurance Company,
                    The. Cincinnati Insurance Company, The waiver sent on 7/27/2020, answer due
                    9/25/2020. (Dowd, Augusta) (Entered: 07/27/2020)
07/30/2020   13     Joint MOTION for Extension of Time Motion for Suspension of Rule 26
                    Deadlines by Cincinnati Insurance Company, The. (Dowd, Augusta) (Entered:
                    07/30/2020)
07/30/2020   14     TEXT ORDER: The joint 13 Motion for Extension of Time is GRANTED. All
                    deadlines in the 9 Rule 26 Order are EXTENDED as requested by the motion.
                    Signed by Magistrate Judge Gray M. Borden on 07/30/2020. (SUH) (Entered:
                    07/30/2020)
09/24/2020   15     Unopposed MOTION for Leave to File Excess Pages by Cincinnati Insurance
                    Company, The. (Dowd, Augusta) (Entered: 09/24/2020)
09/24/2020   16     TEXT ORDER granting 15 Motion for Leave to File Excess Pages. Signed by
                    Magistrate Judge Gray M. Borden on 09/24/2020. (SUH) (Entered: 09/24/2020)
09/24/2020   17     NOTICE of Appearance by William H Robertson, V on behalf of All Plaintiffs
                    (Robertson, William) (Entered: 09/24/2020)
09/25/2020   18     MOTION to Dismiss by Cincinnati Insurance Company, The. (Dowd, Augusta)
                    (Entered: 09/25/2020)
09/25/2020   19     Brief re 18 MOTION to Dismiss filed by Cincinnati Insurance Company, The.
                    (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                    Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                    Exhibit J, # 11 Exhibit K)(Dowd, Augusta) (Entered: 09/25/2020)
09/28/2020   20     TEXT ORDER re 18 Motion to Dismiss filed by Defendant The Cincinnati
                    Insurance Company. Plaintiff shall file a response to the motion on or before
                    October 13, 2020, and Defendant may file a reply on or before October 20,
                    2020.Signed by Magistrate Judge Gray M. Borden on 09/28/2020. (SUH)
                    (Entered: 09/28/2020)
10/05/2020   21     Joint MOTION for Extension of Time for Briefing Deadlines by Cincinnati
                    Insurance Company, The. (Dowd, Augusta) (Entered: 10/05/2020)
10/05/2020   22     TEXT ORDER granting the joint 21 Motion to Extend the Briefing Deadlines.
                    Plaintiff shall file its response to the motion to dismiss on or before October 16,
                    2020, and Defendant may file a reply on or before October 30, 2020.Signed by
                    Magistrate Judge Gray M. Borden on 10/05/2020. (SUH) (Entered: 10/05/2020)
10/15/2020   23     MOTION for Extension of Time to File Response/Reply as to 18 MOTION to
                    Dismiss , MOTION to Stay Rule 26 Planning Meeting by Dukes Clothing LLC.
                    (Colquett, P) (Entered: 10/15/2020)


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10/16/2020   24      TEXT ORDER granting 23 Motion for Extension of Time to File
                     Response/Reply to 18 MOTION to Dismiss. Plaintiff's response is due on or
                     before 10/23/2020. Defendant's reply is due on or before 11/6/2020. Plaintiff's
                     23 Motion to Stay is granted and the parties' obligation to have a Rule 26
                     planning meeting is stayed pending the court's ruling on Defendant's motion to
                     dismiss (Doc. 18). Signed by Magistrate Judge Gray M Borden on 10/16/2020.
                     (STH) (Entered: 10/16/2020)
10/23/2020   25      RESPONSE in Opposition re 18 MOTION to Dismiss filed by Dukes Clothing
                     LLC. (Attachments: # 1 Exhibit A)(Colquett, P) (Entered: 10/23/2020)
11/06/2020   26      RESPONSE in Support re 18 MOTION to Dismiss of the Second Amended
                     Complaint filed by Cincinnati Insurance Company, The. (Dowd, Augusta)
                     (Entered: 11/06/2020)
01/22/2021   27      NOTICE by Cincinnati Insurance Company, The re 18 MOTION to Dismiss ,
                     19 Brief, Supplemental Authority (Attachments: # 1 Exhibit A, # 2 Exhibit B, #
                     3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Dowd,
                     Augusta) (Entered: 01/22/2021)
05/05/2021   28   9 MEMORANDUM OPINION. Signed by Magistrate Judge Gray M Borden on
                    5/5/2021. (KAM) (Entered: 05/05/2021)
05/05/2021   29   8 FINAL JUDGMENT for the reasons stated in the Memorandum Opinion
                    entered this date, the Motion to Dismiss 18 is GRANTED, and all claims stated
                    in the complaint are DISMISSED with prejudice. Signed by Magistrate Judge
                    Gray M Borden on 5/5/2021. (KAM) (Entered: 05/05/2021)
06/04/2021   30   6 NOTICE OF APPEAL as to 28 Memorandum Opinion, 29 Order Dismissing
                    Case, by Dukes Clothing LLC. Filing fee $ 505, receipt number 1126−3856344.
                    Appeal Record due by 7/14/2021. (Glover, R) (Entered: 06/04/2021)
06/08/2021   31   5 NOTICE of transmittal letter to the 11th Circuit Court of Appeals (KAM)
                    (Entered: 06/08/2021)




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                                                 Northern District of Alabama                                                 N.D. OF ALABAMA
                                                       Office of the Clerk
                                             Hugo L. Black United States Courthouse
                                               Room 140, 1729 5th Avenue North
                                                 Birmingham, Alabama 35203
                                                         (205) 278-1700


Mr. Dave Smith, Clerk
U.S. Court of Appeals, 11th Circuit
56 Forsyth Street, N.W.
Atlanta, GA 30303.                                   U.S.D.C. No: 7:20-cv-860-GMB
                                                     U.S.C.A. No. New Appeal
                                                     IN RE: Dukes Clothing LLC v. Cincinnati Insurance Company

Enclosed are documents regarding an appeal in this matter. Please acknowledge receipt on the enclosed copy of this transmittal.

☒         Certified copy of Notice of Appeal, Docket Entries and Judgment/Order and Opinion appealed from enclosed.

☐       Certified record, supplemental record on appeal consisting of: Click   here to enter text. volume(s) of pleadings, etc.;
        Click here to enter text.volume(s) of transcripts;

☒       First Notice of Appeal? Yes Dates of other Notices:

☐       The following materials SEALED in this court (order enclosed) consisting of: Click     here to enter text.

☐       Original papers (court file) and certified copy of docket entries per USCA request.

☐       There was no hearing from which a transcript could be made.

☐       Copy of CJA Form 20 or District Court order appointing counsel.

☒       The appellant docket fee has been paid. Yes Date Paid: 6/4/2021

☐       The appellant has leave to appeal in forma pauperis and        request for certificate of appealability (order enclosed).

☒       The Judge/Magistrate Judge appealed from is: Gray M. Borden

☐       The Court Reporter is:    205-252-6565.

☐       This is a BANKRUPTCY APPEAL. Please send notice of final order and/or opinion to: Scott W. Ford, Acting Clerk, U.S.
        Bankruptcy Court, 1800 5th Avenue North, Birmingham, Alabama 35203.

☐       This is a DEATH PENALTY appeal.

☐       Appellant having failed to cure procedural defects re: appeal fee, the appeal is due to be DISMISSED.

☐       Other:

xc: Counsel                                 Sharon Harris, Clerk

                                            By:_ K. Miller___________________
                                                    Deputy Clerk




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                  UNITED STATES DISTRICT COURT                                        N.D. OF ALABAMA

             FOR THE NORTHERN DISTRICT OF ALABAMA
                       WESTERN DIVISION

DUKES CLOTHING, LLC,     )
                         )
         Plaintiff,      )
                         )
v.                       )                    Case No. 7:20-cv-860-GMB
                         )
THE CINCINNATI INSURANCE )
COMPANY                  )                    NOTICE OF APPEAL
                         )
         Defendant.      )

                              NOTICE OF APPEAL


      Notice is hereby given that Dukes Clothing, LLC in the above named case,

hereby appeals to the United States Court of Appeals for the 11th Circuit from a final

judgment from a Rule 12(b)(6) motion dismissing the entire case with prejudice

entered in this action on the 5th day of May, 2021. (Documents 28, 29)


                                              Respectfully submitted,

                                              /s/ R. Matt Glover (asb-7828-a43g)
                                              R. Matt Glover
                                              Prince Glover Hayes
                                              1 Cypress Point
                                              701 Rice Mine Road North
                                              Tuscaloosa, Alabama 35406
                                              Phone: (205) 345-1234
                                              Fax: (205) 752-6313
                                              Email: mglover@princelaw.net




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                         CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of June, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to all the CM/ECF participant counsel of record.

P. Ted Colquett, Esquire                            Craig A. Shirley, Esquire
William H. Robertson, V, Esquire                    William C. Waller, IV, Esquire
Augusta S. Dowd, Esquire

                                                    /s/ R. Matt Glover
                                                    Of Counsel




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                                                                                  N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

DUKES CLOTHING, LLC,                     )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )   Case No. 7:20-cv-860-GMB
                                         )
THE CINCINNATI INSURANCE                 )
COMPANY,                                 )
                                         )
       Defendant.                        )

                             FINAL JUDGMENT

      For the reasons stated in the Memorandum Opinion entered on this date, it is

ORDERED that the Motion to Dismiss (Doc. 18) is GRANTED, and all claims

stated in the complaint are DISMISSED with prejudice.

      The Clerk of Court is DIRECTED to close this file.

      DONE and ORDERED on May 5, 2021.


                                   _________________________________
                                   GRAY M. BORDEN
                                   UNITED STATES MAGISTRATE JUDGE




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                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

DUKES CLOTHING, LLC,                      )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )   Case No. 7:20-cv-860-GMB
                                          )
THE CINCINNATI INSURANCE                  )
COMPANY,                                  )
                                          )
       Defendant.                         )

                          MEMORANDUM OPINION

      Before the court is the Motion to Dismiss (Doc. 18) filed by Defendant The

Cincinnati Insurance Company (“Cincinnati”). The motion is fully briefed and ripe

for decision. Docs. 19 & 25–27. The parties have consented to the jurisdiction of a

United States Magistrate Judge pursuant to 28 U.S.C. § 636(c). Doc. 8. For the

following reasons, the motion is due to be granted.

                          I. STANDARD OF REVIEW

      In considering a motion to dismiss pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, the court must “take the factual allegations in the

complaint as true and construe them in the light most favorable to the plaintiff.”

Pielage v. McConnell, 516 F.3d 1282, 1284 (11th Cir. 2008). To survive a motion

to dismiss, a complaint must include “enough facts to state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim



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is “plausible on its face” if “the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The complaint “requires more

than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Twombly, 550 U.S. at 555. Factual allegations need not be

detailed, but “must be enough to raise a right to relief above the speculative level,”

id., and “unadorned, the-defendant-unlawfully-harmed-me accusation[s]” will not

suffice, Iqbal, 556 U.S. at 678.

                         II. FACTUAL BACKGROUND

      This case centers on an insurance policy that Plaintiff Dukes Clothing, LLC

(“Dukes Clothing”) purchased from Cincinnati. Doc. 1 at 2. According to the

Complaint, the policy provides business income coverage for both of Dukes

Clothing’s retail locations. Doc. 1 at 2. Dukes Clothing alleges that “[a]s a result of

COVID-19, civil authority declarations from the State of Alabama and a direct

exposure of COVID-19 from a customer, [it] was forced to close both of its insured

locations.” Doc. 1 at 3. As Dukes Clothing describes in its complaint, COVID-19 is

a virus that spreads primarily through person-to-person contact. Doc. 1 at 11. But it

also can spread by airborne transmission and by contact with contaminated surfaces.

Doc. 1 at 12. In response to the COVID-19 pandemic, “governments across the

globe imposed strict limitations and lockdowns on businesses” to promote social



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distancing and slow the spread of the virus. Doc. 1 at 13.

      On April 20, 2020, Dukes Clothing made a claim on its policy for loss of

business income coverage due to the closure of its stores. Doc. 1 at 3. On April 29,

2020, Cincinnati denied the claim, asserting that there was no direct physical loss to

the covered property and that the policy’s pollution exclusion applied. Doc. 1 at 3.

Dukes Clothing then brought this action against Cincinnati, alleging breach of

contract (Count I), bad faith (Counts II and III), and negligence (Count IV). Doc. 1

at 18–23.

                                III. DISCUSSION

      Cincinnati focuses its arguments on Dukes Clothing’s breach of contract

claim and does not “directly seek dismissal of the bad faith claim per se.” Doc. 26

at 1–2. However, the court may dismiss a party’s claims sua sponte and without

notice and an opportunity to replead if amendment of the complaint would be futile.

Surtain v. Hamlin Terrace Found., 789 F.3d 1239, 1248 (11th Cir. 2015). For the

reasons discussed below, the court will grant Cincinnati’s motion to dismiss the

breach of contract claim and dismiss the remaining claims sua sponte.

A.    Breach of Contract

      Cincinnati argues that Dukes Clothing’s complaint should be dismissed

because losses caused by COVID-19 and government closure orders related to

COVID-19 are not covered by the policy. Doc. 19 at 1–2. To trigger coverage,



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Dukes Clothing must have suffered “direct ‘loss’ to property.”1 Doc. 19-1 at 80.

The policy defines “loss” as “accidental physical loss or accidental physical

damage.” Doc. 19-1 at 88. Thus, Dukes Clothing can only recover under its business

income policy if it can show that its properties suffered direct physical loss or

damage.

       The policy does not have a choice-of-law provision, so Alabama law governs

this contract dispute. Cherokee Ins. Co. v. Sanches, 975 So. 3d 287, 292 (Ala. 2007)

(holding that the law of the state of contract formation governs a contractual dispute

absent a choice-of-law provision).          However, there is no Alabama caselaw

“addressing whether a temporary inability to use one’s property for its intended

purpose constitute[s] a ‘direct physical loss of property.’” Hillcrest Optical, Inc. v.

Cont’l Cas. Co., 2020 WL 6163142, at *5 (S.D. Ala. Oct. 21, 2020). This court

therefore relies on Alabama law’s standard tools of insurance contract construction.

       When analyzing an insurance policy, a court gives words used in the
       policy their common, everyday meaning and interprets them as a
       reasonable person in the insured’s position would have understood
       them. If, under this standard, they are reasonably certain in their
       meaning, they are not ambiguous as a matter of law and the rule of
       construction in favor of the insured does not apply. Only in cases of
       genuine ambiguity or inconsistency is it proper to resort to rules of
       construction. A policy is not made ambiguous by the fact that the parties
       interpret the policy differently or disagree as to the meaning of a written
       provision in a contract. A court must not rewrite a policy so as to

1
  The court may consider insurance policies attached to or referenced in the complaint when
resolving a Rule 12(b)(6) motion. Valley Creek Land & Timber v. Colonial Pipeline Co., 432 F.
Supp. 3d 1360, 1363 (11th Cir. 2020).


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      include or exclude coverage that was not intended. However, if a
      provision in an insurance policy is found to be genuinely ambiguous,
      policies of insurance should be construed liberally in respect to persons
      insured and strictly with respect to the insurer.

Travelers Cas. & Sur. Co. v. Ala. Gas Corp., 117 So. 3d 695, 699–700 (Ala. 2012)

(quotation marks and citations omitted). “The terms of an insurance policy are

ambiguous only if the policy’s provisions are reasonably susceptible to two or more

constructions or there is reasonable doubt or confusion as to their meaning.” State

Farm Fire & Cas. Co. v. Slade, 747 So. 2d 293, 308–09 (Ala. 1999) (citations

omitted). Further, “a court cannot consider the language in the policy in isolation,

but must consider the policy as a whole.” Id. at 309 (internal citation omitted).

      A few courts have found that business shutdowns caused by the COVID-19

pandemic fall within the plain meaning of “direct physical loss.” See, e.g., Studio

417, Inc. v. Cincinnati Ins. Co., 478 F. Supp. 3d 794, 800 (W.D. Mo. 2020). In

Studio 417, the court turned to the Merriam-Webster dictionary, which defines

“direct” as “characterized by close logical, causal or consequential relationship,”

“physical” as “having material existence,” and “loss” as “the act of losing

possession” and “deprivation.” Id. Relying on those definitions, the court found that

the plaintiffs had alleged a causal relationship between COVID-19 and their losses.

Id. The Studio 417 plaintiffs claimed that COVID-19 was a “‘physical substance’”

that “attached to and deprived Plaintiffs of their property, making it ‘unsafe and

unusable.’” Id. (quoting plaintiffs’ complaint). The court found that the plaintiffs

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had adequately alleged direct physical loss based on “the plain and ordinary meaning

of the phrase.” Id. (quotation marks omitted).

      Dukes Clothing also relies on Gregory Packaging, Incorporated v. Travelers

Property Casualty Company of America, 2014 WL 6675934, at *6 (D.N.J. Nov. 25,

2014), which found that a building can suffer direct physical loss even with no

material change to the building’s structure. The Gregory Packaging court found that

a release of ammonia caused direct physical loss to the plaintiff’s facility. The

ammonia “physically transformed the air” within the facility and rendered it “unfit

for occupancy until the ammonia could be dissipated.” Id. Like ammonia, COVID-

19 can be airborne but can also be transmitted by contact with contaminated surfaces.

Doc. 1 at 12.

      In response, Cincinnati argues that Dukes Clothing has not alleged direct

physical loss or damage because COVID-19 did not cause “a physical or structural

alteration of Plaintiff’s property.” Doc. 19 at 12. Many courts agree that direct

physical loss or damage requires physical alteration of the property. See, e.g., Sandy

Point Dental, PC v. Cincinnati Ins. Co., 2020 WL 5630465, at *3 (N.D. Ill. Sept. 21,

2020) (granting motion to dismiss because “coronavirus does not physically alter the

appearance, shape, color, structure, or other material dimension of the property”).

      This court finds that only Cincinnati’s understanding of the intended meaning

of “direct physical loss or damage” conforms with the plain meaning of the words



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and harmonizes with the terms of the policy as a whole. The policy’s definition of

“loss” is circular. See Doc. 19-1 at 88 (defining “loss” to include “accidental physical

loss”). Therefore, the court must turn to dictionary definitions to understand the

plain meaning of direct physical loss or damage. Travelers, 117 So. 3d at 700 & 703.

“Loss” is defined as “ruin, destruction,” Loss, Oxford English Dictionary, available

at www.oed.com (“Oxford English Dictionary”), and “damage” as “[i]njury, harm;

esp. physical injury to a thing, such as impairs its value or usefulness.” Damage,

Oxford English Dictionary, supra. The court must read loss and damage as having

distinct meanings so that neither term is superfluous. Royal Ins. Co. of Am. v.

Thomas, 879 So. 2d 1144, 1154 (Ala. 2003).            The court therefore interprets

“damage” to be a lesser harm than “loss,” which results in total ruin. See The

Woolworth LLC v. The Cincinnati Ins. Co., 2021 WL 1424356, at *4 (N.D. Ala. Apr.

15, 2021). Thus, although the terms vary in the degree of harm they describe, they

share the same essential character. And within the context of this policy, both loss

and damage to property must be “physical,” which is defined as “of or relating to

matter or the material world; natural; tangible, concrete.” Physical, Oxford English

Dictionary, supra. While COVID-19 particles are a physical manifestation of the

virus, Dukes Clothing has not alleged that they caused physical harm to property

within the meaning of the policy.

      The entirety of the policy language confirms that direct physical loss or



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damage requires an actual physical change to property that COVID-19 particles

cannot cause. For example, the policy covers loss of business income only during

the Period of Restoration (Doc. 19-1 at 34), which begins at the time of the direct

physical loss and ends when the property “should be repaired, rebuilt or replaced”

or “when business is resumed at a new permanent location.” Doc. 19-1 at 54–55.

This definition leads to the conclusion that direct physical loss must be a loss

requiring repair, rebuilding, or replacement. Cleaning and disinfecting are all that is

required for restoring the usefulness of a building contaminated by COVID-19. See

R.T.G. Furniture Corp. v. Hallmark Speciality Ins. Co., 2021 WL 686864, at *3

(M.D. Fla. Jan. 22, 2021) (“COVID-19 does not impact physical structures, other

than to require additional cleaning and sanitizing of those structures.”). Thus, the

question is whether Dukes Clothing can shoehorn cleaning or disinfecting into the

definitions of repair, rebuild, and replace. “Rebuild” is defined as “[t]o build

something . . . again or differently,” Rebuild, Oxford English Dictionary, supra, and

“replace” as “[t]o provide a substitute for; to put an equivalent in place of (something

lost, broken, etc.).” Replace, Oxford English Dictionary, supra. Cleaning and

disinfecting do not fall within the scope of these two definitions under any

reasonable interpretation of the terms. “Repair” is defined as “[t]o restore (a

damaged, worn, or faulty object or structure) to good or proper condition by

replacing or fixing parts; to mend, fix.” Repair, Oxford English Dictionary, supra.



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Cleaning and disinfecting do not involve replacing or fixing parts, and a structure is

not faulty because it has a contaminated surface that can be decontaminated by

cleaning and disinfecting.

      The Eleventh Circuit’s holding in Mama Jo’s, Incorporated v. Sparta

Insurance Company, 823 F. App’x 868 (11th Cir. 2020), illustrates the distinction

between cleaning and repairing. In Mama Jo’s, dust and debris entered a restaurant

due to nearby road construction, causing a slowdown in the restaurant’s business.

Id. at 871. The restaurant had an insurance policy covering “direct physical loss of

or damage to Covered Property.” Id. Applying Florida law, the Eleventh Circuit

interpreted the phrase “direct physical loss” to require “actual” loss. Id. at 879

(citations omitted). The court concluded that the dust and debris did not cause an

actual loss because the property needed only thorough cleaning to restore it to its

previous condition. Id. Like dust and debris, this court concludes that a viral

contaminant can be purged with cleaning and disinfecting and does not create the

type of actual loss or damage contemplated by the policy’s definition of “Period of

Restoration.”

      Dukes Clothing alleges three reasons for its closure and resulting loss of

business income: (1) COVID-19, (2) closure orders from the State of Alabama, and

(3) direct exposure of COVID-19 from a customer. Doc. 1 at 2. The first allegation

does not establish a causal relationship between COVID-19 and Dukes Clothing’s



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losses. The second allegation does not identify a physical loss because the closure

orders had no tangible or material effect on Dukes Clothing’s property. See Hillcrest

Optical, 2020 WL 6163142, at *7. And the third reason does not constitute direct

physical loss or damage and does not allege harm to property that requires repair,

rebuilding, or replacement. At most, a COVID-19 exposure would require Dukes

Clothing to clean and disinfect its stores. Therefore, Dukes Clothing has not alleged

facts sufficient to find coverage under its policy with Cincinnati, and Count I is due

to be dismissed.

      The court does not address Dukes Clothing’s arguments regarding the policy’s

pollution exclusion (see Doc. 25 at 13–14) because Dukes Clothing has not met its

initial burden to establish coverage. DiBenedetto v. Allstate Ins. Co., 469 F. Supp.

3d 1243, 1246–47 (N.D. Ala. 2020) (“In coverage disputes, the insured bears the

burden of proving coverage exists.”). The court also finds that any amendment to

Dukes Clothing’s complaint would be futile because the court finds as a matter of

law that the policy does not cover damage caused by COVID-19, either directly or

indirectly. See Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th Cir. 2007) (holding

that amending a complaint “is futile when the complaint as amended would still be

properly dismissed”).

B.    Bad Faith and Negligence

      Counts II and III of Dukes Clothing’s complaint allege that Cincinnati acted



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in bad faith by denying insurance claims arising from the COVID-19 pandemic

without investigating them. Doc. 1 at 19–21. However, “[a] bad-faith-refusal-to-

investigate claim cannot survive where the trial court has expressly found as a matter

of law that the insurer had a reasonably legitimate or arguable reason for refusing to

pay the claim at the time the claim was denied.” State Farm Fire & Cas. Co. v.

Brechbill, 144 So. 3d 248, 260 (Ala. 2013). The court has found that Cincinnati’s

reason for denying the claim was legitimate. Therefore, Dukes Clothing’s bad faith

claims fail as a matter of law and Counts II and III are due to be dismissed.

      In Count IV of the complaint, Dukes Clothing alleges that Cincinnati

“negligently failed to investigate” its claim. Doc. 1 at 22. Under Alabama law, tort

claims are governed by the law of the state in which the injury occurred. Rosa &

Raymond Parks Inst. for Self Dev. v. Target Corp., 90 F. Supp. 3d 1256, 1260–61

(M.D. Ala. 2015). Here, the alleged injury occurred in Alabama, where Dukes

Clothing is located. However, Alabama law does not recognize a cause of action for

“the negligent handling of insurance claims.” Federal Nat’l Mortg. Ass’n v. GNM

II, LLC, 2014 WL 1572584, at *5 (M.D. Ala. Apr. 17, 2014) (quoting Kervin v. So.

Guar. Ins. Co., 667 So. 2d 704, 706 (Ala. 1995)). Therefore, Count IV also is due

to be dismissed.

                               IV. CONCLUSION

      For these reasons, Cincinnati’s Motion to Dismiss (Doc. 18) is due to be



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granted, and all of the claims stated by Dukes Clothing are due to be dismissed with

prejudice. A final judgment will be entered.

      DONE and ORDERED on May 5, 2021.


                                    _________________________________
                                    GRAY M. BORDEN
                                    UNITED STATES MAGISTRATE JUDGE




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